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                                                                                             MAR 1 6 2015
                             UNITED STATES DISTRICT COURT

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                             EASTERN DISTRICT OF ARKANSAS
                                  NORTHERN DIVISION


Lawrie Brewer,

                        Plaintiff,                   Civil Action No.:   j', /5-( \J -a&>-~\<\
        v.
                                                     COMPLAINT AND DEMAND FOR
Credit Protection Association; and DOES 1-10,        JURY TRIAL
inclusive,
                                                   : This case assigned to District   tr~• t1cx:J~
                        Defendants.                : and to Magistrate Judge            ~ p-e.__

                                           COMPLAINT

        For this Complaint, Plaintiff, Lawrie Brewer, by undersigned counsel, states as follows:

                                         JURISDICTION

        1.      This action arises out of Defendants' repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (the "FDCPA").

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      Plaintiff, Lawrie Brewer ("Plaintiff'), is a person residing in Mountain View,

Arkansas.

        5.      Defendant Credit Protection Association ("CPA"), is a Texas business entity with

an address of 13355 Noel Road, Suite 2100, Dallas, Texas 75240, operating as a collection
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agency, and is a "debt collector" as the term is defined by 15 U.S.C. § 1692a(6), A.C.A. § 17-24-

502(5)(A).

       6.       Does 1-10 (the "Collectors") are individual collectors employed by CPA and

whose identities are currently unknown to Plaintiff. One or more of the Collectors may be joined

as parties once their identities are disclosed through discovery.

       7.       CPA at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.       An individual other than Plaintiff (the "Debtor") allegedly incurred a financial

obligation (the "Debt") to an original creditor (the "Creditor").

       9.       The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes, which meets the definition of a "debt" under 15 U.S.C. §

1692a(5) and A.C.A. § 17-24-502(4).

       10.      The Debt was purchased, assigned or transferred to CPA for collection, or CPA

was employed by the Creditor to collect the Debt.

       11.      Defendants attempted to collect the Debt and, as such, engaged in

"communications" as defined in 15 U.S.C. § 1692a(2) and A.C.A. § 17-24-502(1).

   B. CPA Engages in Harassment and Abusive Tactics

       12.      Within the last year, CPA contacted Plaintiff in an attempt to collect the Debt

from "Lexis Ford" (the "Debtor").

       13.      On multiple occasions, Plaintiff informed CPA that she was not the Debtor and

that it was calling the wrong number.

       14.       Nevertheless, CPA continued to harass Plaintiff with collection calls.



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   C. Plaintiff Suffered Actual Damages

       15.     Plaintiff has suffered and continues to suffer actual damages as a result of

Defendants' unlawful conduct.

       16.     As a direct consequence of Defendants' acts, practices and conduct, Plaintiff

suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,

frustration and embarrassment.

                                 COUNT I
        VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT -
                           15 U.S.C. § 1692, et seq.

       17.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       18.     Defendants' conduct violated 15 U.S.C. § 1692d in that Defendants engaged in

behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with collection of the Debt.

       19.     Defendants' conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused a

phone to ring repeatedly and engaged Plaintiff in telephone conversations with the intent to

annoy and harass Plaintiff.

       20.     Defendants' conduct violated 15 U.S.C. § 1692f in that Defendants used unfair

and unconscionable means to collect the Debt.

       21.     The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the FDCPA.

       22.     Plaintiff is entitled to damages as a result of Defendants' violations.




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                              COUNT II
 VIOLATIONS OF THE ARKANSAS FAIR DEBT COLLECTION PRACTICES ACT -
                       A.C.A. § 17-24-501, et seq.

       23.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       24.     Defendants' conduct violated A.C.A. § 17-24-505(a) in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in

connection with the collection of a debt.

       25.     Defendants' conduct violated A.C.A. § 17-24-505(b)(5) in that Defendants caused

a phone to ring repeatedly and engaged Plaintiff in telephone conversations, with the intent to

annoy and harass.

       26.     Defendants' conduct violated A.C.A. § 17-24-507(a) in that Defendants used

unfair and unconscionable means to collect a debt.

       27.     The foregoing acts and omissions of Defendants constitute numerous and multiple

violations of the AFDCP A, including every one of the above-cited provisions.

       28.     Plaintiff is entitled to damages as a result of Defendants' violations.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

                    1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(l) and A.C.A. § 17-24-

                       512(a)(l);

                    2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A) and

                       A.C.A. § 17-24-512(a)(2)(A);

                    3. Costs oflitigation and reasonable attorney's fees pursuant to 15 U.S.C. §

                        1692k(a)(3) and A.C.A. § 17-24-512(3);

                    4. Actual damages pursuant to A.C.A. 4-88-1 B(f);

                                                  5
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                 5. Costs oflitigation and reasonable attorney's fees pursuant to AC.A. 4-88-

                       113(f);

                 6. Punitive damages; and

                 7. Such other and further relief as may be just and proper.

                       TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: March 9, 2015




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